Case 2:23-cv-00340-MCS-MRW Document 1-1 Filed 01/17/23 Page 1 of 14 Page ID #:10




           EXHIBIT “A”
   Case 2:23-cv-00340-MCS-MRW Document 1-1 Filed 01/17/23 Page 2 of 14 Page ID #:11


: Bectronlc:&lly FILED by Superior Court of CaUfomla, County of Los Angelea on 12/0219112? M.\•~.Aherrl R Carte        Ex-,.._ O"'---•ct ·
                                                                                  -c=~.CT\7                 •     ~.     - • • •· · """"' lfflC\ofCo.!Jrt by A.   Oliva.Deputy Cleric
                                                                                                                           i .• - . ' .• ,      .. .,


                                                  SUMMONS
                                           (CITACl(JN JUDICIAL)
     NOTICE TO DEFENDANT:
     (AVISO AL DEMANDADO):
      CITY OF PASADENA, METRO TRANSIT AND DOES 1-10,
      INCLUSIVE                                                                                                           \-\'-~ -n c\     c\-eJ \ v..e:ce c\
     YOU ARE BEING SUED BY PLAINTIFF:
     (LO ESTA DEMANDANDO EL D.EMANDANTEJ:
                                                                                                                           ().., rn c rruJ.J. LU"---->
      GABRIELA CABRERA

       NOTICE! You have been aued. The cou,t may decide against you wlt!IOut your being heard unleal you retPOnd wl In 30 days. Read the lnfonnatlon
       below.
          You have 00 CALENDAR DAVS after this aummona and legal paper'I are aeMd on you to tile a written re~ponae at ttlll court and h■va a copy
       servlld on the plalntlff. /\ let!et or phOne .catl wlll not protect you, Your,wrltjen rosponse must be 1h prqper leg1I ~rm If you want tha court to heer your
       ~se. There may be a _court ftlrm that you can uee for your reaponee. You can find theN eourt forms and more lnfoffllBllon at the Callfornle Courts
       onnne Self-Help Center (www.courtinfo.ca.gov/setfhelp), your county law library, or lhe courthouae neareat you. If you cannot payttte-flllng fee, uk
       tha <:!)Uri clerk for I fee waiver form. If yo~ do not Ille your response on ttme 1 you may loaattlfl case by d•u1t. •fld your ,W11Q81, money, and property
       may be taken without further warning from the court
                                                                                                                                 •!
           There are ottler legal requirement.. You may want to call an attorney right awey, If )'OU do not know an itlomoy, )'OU may want to c:a11 an attorney
       referral eorvlce. lf·You cannot afford an attorney, -you may be •l!glble for free legal eorvloea from• nonl)i'Oflt       Hrvlcee program. You can locate
       those flORPf?flt groups at ltMI California Legal 8efvicos Web alt& (www.l8whe/pQ!f~a.p,v), the Ca~ Courts Online Self.Help Cente.r
       (www.oo11rtlntb.ca.gov/Mllhelp), or by con~ctlng your local court or county bar aeeoclallon. NOTEt The oourt haa 1 ~ r y lien fQr waived feee ~nd
       costs on any .aet1111ment' or artiil,-tlon award of s;o,ooo or mof'9,ln ■ clVll c:aee. The court'• Hen rm,ist be ~Id before the court wtff'dlemlal I.he case.
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        en fomrato /fig&./ oorrecfo al desea que proo,,en au caso Bl) la corte. E a ~ que haya un fOmWllirlo qw usMJ pueda uw ~ au ~uesta.
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        cus/qulflr reouparacl6h de 110,000 6      mu    de vatar redblda med/ant. un tlCUIJn1o o una t!Oflctl"6n de ~ en un caso de derecho civil. Tlene q,.,.
        /JIIQ&r&I gravamen dii la ~ snlN de qiJfl la com, putlda desechsr el caso.
      The name and addreaa of the court Is:                                                                               CME JM,ffJl!lt
      (El nombre y dlreccl6n de la com, es):                 Alhambra Courthouse
       150 West Commonwealth
                                                                                                                          ""°:T~H CV 01                                 21 0
       Alhambra, CA 91801
      The name, address, a11d telephone number of plall')tlff'a attorney, or plaintiff without an attorney, la:
      (cl nombre, /a dlr:8CC/6ti :rel nOMlro ~ teMf.ono de/ abogado de/ demandante, o def deman,tante que no tlene abogado, es):
       Dayton Magallanes (SBN 240231); 15786 Sophomore.Ct, Moorpark, CA 93021; (310) 779-2348
       DATE:                                                            ·                 Clerk by                                                                               , Deputy
       (Fecha)     12J 02/2 Q22            Sherri R. Ca~r ExecutNa Ofl'lcar I Clerk cf court (Sed-etarto}
                                                     1

                                                                                                                                  A. 'Olli/a                                      (Ac(Junto)
      (Fot:proof of servfoB of th/8 8ummons, """ Proof of Service 9f Summons (form POS--010).)
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       [SEA
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                                        2.               D
                                                  aa the person aued under the fictitious name Of (specify):                                                                                m
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                                                         under.   D     CCP 41B.10 (COfPC)fallon)                          D         CCP-416:.                               ~           <;:
                                                                  0     CCP 418.20 (~~ corporation)                        c:J       CCP 416.'7°S3                   at~                f'r7
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Eiectronlcally flLED by Superior Court of Callfomla, County of Los Angele& on 1210212022 12:15 PM Sherri R. Carter Executive Officer/Clerk of Court by • Oliva Deputy Cl ...
                                                                          •          22AHCV01210                  '                               • "·        ,          e,"
                                        Assigned for ail purposes to: Alhambra Courthouse, Judicial Officer: Colin Leis




            1 Dayton Magallanes·(Bar No. 240231)
              LAW OFFICES OF DAYTON MAGALLANES
            2
              15786 Sophomore Ct
            3 :fyloqrpark, CA 93021
              Telephone: 310-779-2348
            4 Email! DaytonMagallanes@Yahoo.com
            5
                Attorney for Plaintiff,
            6 . Gabriela Cabrera
            7
                                                                 SUPERIOR COURT OF CALIFORNIA
             8
                                              COUNTY OF LOS ANGELES, ALHAMBRA COURTHOUSE
             9
           l0      GABRIELA CABRERA,                                                               CaseNo. 22AHCV01210
           11                  Plaintiff,                                                          VERIFIED COMPLAINT FOR DAMAGES
                                                                                                   AND PERMANENT INJUNCTIVE RELIEF
           12      V,                                                                              FOR VIOLATION OF:
           13
                    CITY OF PASADENA, ME1RO TRANSIT                                                1. Title II of the Americans with Disabilities
           14       AND DOES 1-10, INCLUSIVE                                                       Act, 42.U.S.C. §12131 et .seq.;
           15                                                                                      2. Section 504 of the Rehabilitation Act, 29
                               Defendants.                                                         u.s.c.
           16·                                                                                     § 794 et seq.; and
                                                                                                   3. California's Disabled Persons Act, Cal. Civ.
            17                                                                                     Code§ S4
            18
                                                                                                   ACTIONSUBJECTTOTIIE
            19                                                                                     SUPPLEMENI'AL FEE IN GOVERNMENT
            20                                                                                     CODE SECTION 70616.5

            21
                               Plaintiff Gabriela Cabrera complains of City of P~adena and Metto Transit; and Docs 1-
            22
            23      10 (°Defendants"), inclusive, allege the following:
            24                                                                INTRODUCTION
            25
                     l.         Plaintiff Gabriela Cabrera, an individual suffering from polfo, and as a result thereof,
            26
                                afflicted with physical disabilities, requires the use of a wheelchait'·wherever she goes,
            27
            28                                                                                     1
                                             V erlfled Complaint 'For Damages and Permanent Injunctive Relief
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  1          and brings the fQllowing action, alleging that Defendants City of Pasadena and Metro
  2
             Transit have and continue to discriminate against her based on:ber disability and in
  3
             violation of federal and state anti-discrimination statutes.
  4
  5 2.       Specifically. Plaintiff alleges that Defendants have failed and/or refused to properly
  (;         main•     construct, or alter the bus stop located at Olen Ave. :and Washington ("Bus
  7
             Stop") such that this stop is completely inaccessible to her as a'wheelohair user.
   8
        3.   Because of Defendants' failure to guarantee the accessibility of the bus stop, Plaintiff has
   9,
  10         been, and will continue to be, denied-full and equal access to Defendants~ services,

  11         programs, and activities, all to her detriment and:damage.
  12    4.   Through this lawsuit, Plaintiff seeks an injunctionrequiringDefendants to,provideher
  13
             "full and eciual" access to the Bus ;Stop as required by Jaw. Pla.inti:ff also seeks damages
  14
  15         and reasonable attorneys' fees; costs, and litigation expenses for enforcing her civil

  16         rights.
  17
                                          LfflGATING PARTIES
  18

  19    s.   Plaintiff resides in California with physical disabilities. She suffers with polio arid cannot

  20         walk. She requires the use of'a wheelchair for mobility wherever she goes because she is
             unable to stand or walk independent ofassistance and requires a whee~chair for
  21
             movement. Plaintiff is at all times relevant herein, a "qualified person with a disability~'
  22
             and a "physically disa:bledperson," as those terms are defined under the ADA and its
  23
              implementing regulations (42 U.S.C, § 12102; 28 C.F.R. §, JS,.104),,Section 504 (29
  24
             U.S.C. § 794) and. California law (Cal. Gov~ Code § 12926).
  25
        6.   Defendant City' of Beverly Hills and Metro Transit are at all ~es relevant to herein,
  26
             political subdivisions ofthe State of California..
  27
  28'                                               2
                       Verified Complaint For Damages and Permanent lrtjunctive Relief

                                                                  •   .,,   f   •   f   I   •   a   I   ~   •   0   t   •   •
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   I 7.       Plaintiff ls informed and believ.es that each of the Defendants herein, including Does 1-
   2          10, inclusive, is accountable in some capacity for the events alleged h ~ or is a
   3          necessary party for obtaining,properrellef. Plaintiff.may seek leave to amend if and when
   4          the true names, capacities, connectlons, or responsibilities of the Defendants and Does 1
   5          through 10, inclusive, are determined.
   6    8.    Plaintiff is informed and believes that each of the Defendants is the agent, ostensible
   7          agent, alter ego, master, servant trustot, trustee, employer. employee, representative,
   8          franchiser, franchisee; lessor,. lessee, joint venture, patent, ·subsidiary, affiliate, related
   9          entity. partner, and/or associate, or such similar capacity, of eaoh of the other Defendants,·
  10          and was at all times acting and performing, or failing to act or perform, within the course

  11          and scope of such similar aforementioned capacities, and with the authorizatio~ consent,
  12·         pennis$ion, er ratification of each of the other Defendants~ and is personally resJX>nsible

  13
              in-some.manner for the acts and-omissions of the other Defendants in ptoximately
              causing the vioiations and damages complained here~ and have participat~ directed,
  14
              and have Qstensibly and/or directly approved or ratified each of the acts or .omissions of
  15
              each of the other Defendants, as·herein described.
  16
                                            COURT JURISDICTION
  17
  18    9.    Docs 1-10 arc, sued pumuantto Code of Civil Prooedure soction 4 74.
  19
                                             ALLEGED -FACTS
  20
        10.   Plaintitrresides in the City ofWestCovina.
  21
  22    11.   Plaintiffw.as in the geographic area of the Defendant's public ·accommodation because

  23           she was selling trinkets in the surrounding area.
  24
        12.   Plaintiff intended to use the public aecommodati.on because she wanted to use the bus,
  25
              just as ,my ambulatory patron would, but the arcbltectural barriers actually denied her ,full
  26
  27
  28                                                        3
                       Verified Complaint F6t Damages and Permanent Injunctive Relief

                                                                  '   .. . . .
                                                                         ,       .   .. ' ..
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  1           and equal access for Plaintifrs particular disabilitie~ causing her difficulty, discomfort,
  2           and ,embarrassment in the process.
  3
       13;    This-complaint is filed on behalf of a high frequency litigant. For the pertinent statutory
  4
   s          period, 39 consttuction related accessibility claims have been filed.

   6 . 14.    Plaintiff requires use of a manual wheelchair to get ~ound.
   7
       15.    Plaintiff generally does not drive and uses.public transportation to travel around1the
   8
              community.
   9
  10 . 16.    Plaintiff sells trinkets as a $treet vendor when visiting the ·area and required the use of

  11          public transportation to board at the Olen Ave. and W8$hington:\,w, stop.
  12 17,      Bus number 2S6 stops at the Bus Stop to drop off and pick up bus riders_, including
  13
              Plainti:ti: at the location of Glen Ave. and Washington.
  14
  15   18.    Plaintiff was unable to use bus stop, because it lacked a pathway to bo·ard the b~s due to

  16          the stop consisting of grass and dirt, ~ther than a Stnooth cement surface, there~y
  17          precluding Plaintiff from being able to travers~ her wheelclurlr through said area in order
  18
              to board the,bus while in her manual wheelchair.
  19
  20   19.    On information and belief, at all times relevant herein, City of Pasadena and Metro

  21          Transit owne~ controll~ maintained, and exercised dominion over the Bus Stop.
  22   2.0.   The bus stop lacks an accessible boarding and unloading area. The features that \make the
  23
              Bus Stop inacgessfble. to wheelchair users ,include~
  24
  25           a. The boarding and ,unloading area lacks a pathway to board the bus due to the stop

  26              consisting of grass and dirt, rather than a smooth,cement surface, ·thereby precluding
  27
  28                                                4
                       Verified Complaint For Damages and PeI'Jllanent Injunctive Relief

                                                        •   • •   I   •   ••   •   •   •   •
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  1              Plaintiff from being able to fit her wheelchair through said area morder to board the
  2
                 bus while in her manual wheelchair:
  3
              b. The immediately surrounding "pathway" areas of said boarding and unloading area
  4
  5              lacks a smooth concrete pathway for Plaintiff to tr~verse safely in her wheelchair in

  6              order to boatd the pus, thus~ making it impossible for Plaintiff to travel in the
  7
                 desigpated bus stop area. Plaintiff would therefore have to maneuver the concrete
   8
                 roadway, literally placing herself in the line ofvehiculartratllc, were she to use the
  9
  10             bus stop as currently designed.

  11    21.   On or about the date of September 26, 2022•.Plaintiff was at the Bus Stop and got stuck
  12
              while attempting_ to traverse the grass and dirt pathway where the bus stop is currently
  13
              placed. Thus, .she:was unable to be use this bus.stop <Jue to the afoJCtI1entioned barriers.
  14
  15          Plaintiff made alternate transportation atrongements :due to the ·aforementioned battlers

  16          and due to the extreme distance, difficulty, and danger Plaintiff would have encountered
  17          in attempting to catch a bus at said Bus Stop, while als.o being forced to wait for the bus
  18
              on the side ofthe roadway.
  19
  20    22.   Plaintiff's difficult experiences using the Bus Stop have caused her difficulty, discomfort,

  21          embarrassment and frustration.
  '22
        23.   Plaintiff filed :a c1aim form with City of Pasadena and also with Metro·Transit on or about:
  23
              October..11, 2022, mailing it via certified mail.
  24
        24.   Plaintiff filed an amended claim with Metro Transit on November 3, 2022, mailing it via
  25
              certlfied mail.
  26·
  27
  28                                                     s
                       Verlfied Complaint For Damages and Permanent Irtjunotive Relief
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   L 25.       Plaintiff contends that Defendants have failed to ensure the accessibility of the·Bus Stop,
   2           and in so doing have failed to guarantee her equal access to and use of the services,
   3
               acti~ties, and pro.grams they provide to the public by,and through the Bus Stop, vioiating
   4
   5           Fedetal and State law.

   6     26.   Based on information and belief, the Bus Stop has.undergone .construction end/or.
   7           IJlteration since January 1, 1982, triggering applicable Califorllia accessibility suw.dards,
   8
               California Code of Regulation, Title 24. On this basis, Plaintiff.alleges that Defendants
   9

  10           have failed to comply with.these standards by failing to provide an accessible bus

  11           boarding and unloading area at the Bus Stop.
  12     27.
                                                     '
               Based on information and belief: the Bus Stop has undergone con·struction and/or
  13
               alteration since January 1, 1992, 1rlggering applicable ADA Standards for Accessible
  14
  15           Design (ADA Standards), 28 C.F.R. pt. 36, .app. D. On this basis, Plaintiff alleges that

  16           Defendants have failed to comply with these standards by failing to provide an accessible
  17
                bus boarding and unloading area at the Bus Stop.
  18
         28.   Plaintiff intends to use the Bus Stop to visit local shops and/or visit with friends in the
   19
  20            future, and would like to do so self-sufficiently and without encountering the above-

  21            described accessibility barriers.
  22 29.       Until said barriers to the accessibility of the Bus Stop is removed, and Defendants'
   23
                W'tlawful and discriminatory policies and practices regarding the constmotfon, alteration,
   24
   2-5          and/or maintenance of bus stops are changed, Plaintiff will continue to be denied full and

   26           equal access to Defendants' activities, programs, and services, and 'Will suffer continued
   27           discrimination and damages as a result..
   28·                                                     6
                        Verified Complaint For Damages and Permanent htjunctive Relief
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  1 30.      The nature of Defendants' discrimination constitutes an ongoing violation, and unless
  2
             enjoined by this Court. will result in ongoing and irrep~le injury to Plaintiff, that is
  3
             incalculable in monetary remedies. Plaintiff has no adequate remedy at law because
  4
  5          monetary damages, will not provide adequate relief.for the harm caused by the

   6         continuation of1he wrongf\11 conduct of Defendants and the deniar ofher civil rights as
   7
             alleged herein. Accordingly, Plaintiff is entitled to iajunctive relief.
   8
                                   GOVERNMENT CLAIM: FILED
   9

  10                       (As.bJ claims/or damages undo California State Law)

  11   31.   Plaintiff timely tiled a claim pursuant to § 910 et s.eq. of the California Government Code
  12
             with City of Pasadena on or about October 11~ 2022. The City of Beverly Hills rejected
  13
             this claim by operation of law on November 25, 2022.
  14
  15   32.   Plaintifftimel)'"filed a claim pursuant to § 910 et seq. of the CaUfQmia Government Code

  16         with Metro Transit   on or about October 11, 2022, as well as an amended claim on
  17         November 3, 2022. Metro Transit rejected this olQ.im by in writ;ing on November 16,
  18
             2022.
  19
  20
  21                                       FIRST CAUSE OF ACTION
  22                            Title D of the Americans with Disabilitl~ Act
  23
                                            4% U.S.C. § 121)1 et seq.
  24
  25   33.    Each ofthe foregoing paragraphs is incorporated herein by reference.

  26 34.      Title II of the ADA provides in pertinent part: ''[N]o q_ualified individual with a ,disability
  27          s~, .by reason .o f such disability, be excluded from participation in or be denied the
  28                                                     7
                      Verified Complaint For Damages and Pennanent htjunctive RcUcf
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   1          benefits of services, programs, or activities of a public entity, or be subjected to
   2          discrimination by any such entity." 42 U.S·.c. § 12132.
   3
        35,   Defendants have at all times mentioned herein been public entities within the meaning of
   4
   5          Title n of the ADA.
   6    36.   Bus stops me a progr~ service, and/or activity Defendant's offer to the public at large.
   7 37.      At all times relevant herein Plaintiff was qualified to use the Bus Stop, and met the
   8
              essential eligibility requirements for use of the Bus Stop.
   9

  10    38.   Defendants' acts and omissions alleged herein have denied Plaintiff the benefits -and uses

  11          of the Bus Stop, in violation of Title Il and its implementing regulations. The Defendants'
  12          disGtiminatory conduct includes, inter alia:
  13
   14         a, Failing to design, construct, and/or alter the Bus Stop in a manner such that it is

   15             readily accessible to and usable by individuals with disabilities, when the
                  construction/alteration was commenc.ed after Januiuy 26, 1992 (28 C.F.R. § 35.151);
   16
               b. Failing to operate the Bus Stop so that it is "readily accessible to and ,usable by
   17
                  individuals with disabilities." (28 C.F.R. § 3S.150(a));
   18

   19         t. Denying Plaintiff the opportunity to participate in or benefit from the aids, amenities,
   20
                  or services offered by Defendants to the publi~ on the ·basis of h~ disabilities (28
   21
                  C.F.R. § 35.130(b)(l)(ii));,
   22
   23          d. Providing Plaintiff opportunity to participate in or benefit from the aids, amenities, or
   24             services offered by Defendants to members of the public that is not equal to·that
   25
                   afforded·her ambulatory peers (28 C.F.R. § 35.130(b)(1)(ii));
   26
   27
   28                                                     8
                        Verified Complaint For Damages and Permanent Inj~ctiv:e Relief
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                                                                                 ·•
   1          e. Otherwise limiting Plaintiff in the enjoyment of any right, privilege, advantage,
   2
                 benefit,,or opportunity enjoyed by others receiving the aids, amenities, or services
   3
                 offered by Defendants to members of the public (28 C.F.R. § 35.13.0(b)(l)(vii));
   4
   5          f. Employing methods of administration that effectively subject Plaintiff io

   6             discrimination due to her disability (28 C.F .R. § 35.130(b)(3)(i)); and
    7         g. Failing to trtake reasonable modifications in policies, practices., or procedures where
    8
                 necessary to avoid discrimination against Plaintiff on the basis of her disability (28
    9
   10             C.F.R. § 3.5.l30(b)(7)).

   11         Title II requires public entities to remov.e physical barriers that funµ or deny access to a
        39.
   12         public entity's programs, services, and activities·under the ADA by no later than January
   13         26, 1995. 28 C.F.R § 35.lSO(c). Since enactment of the ADA, and every year thereafter,
   14         Defendants' have failed to.take appropriate measures.to remove such barriers to the Bus
   15         .StQp, in violation of the ADA.
   16   40.   Defendants' duties under the ADA are mandatory and long recognized. Defendants are                   !   •


   17         assumed to have had knowledge oftheir duties at all relevant times herein, their failure to
   18         carry out these duties as alleged herein was willful and knowing and/or the product of
   19         intentional and willful indifference.
   20   41.   Pursuant to 42 U.S.C . .§ 12133 and 12205, Plaintiff prays forjudgment as set forth below.
   21                                        SECOND CAUSR·OF ACTION

   22                 Section 504 of the Rehabilitation Act of 1973 - 29 U.S.C. § 794

   23
   24   42.   Plaintiff incorporates by reference each ofthe foregoing paragraphs.
        43.    Section 504 of the Rehabilitation Act provides that "no otherwise qualified individual
   25
               with a disability 'in. the United States •.• sh4ll, .solely by teason othis or her disa:biHty, be
   26
               excluded from the participation int be denied the benefits o( ot be subjected to
   27
   28                                                       9
                        Verified Complaint For Damages and Permanent Injunctive Relief
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    1          discrimination under any program or activity receiving federal financial assistance." 29
   2           U.S,C. § 794(a). See also 28 C.f..R. Part 42, Subpart O.
    3    44.   Defendants receive "federal financial assistance" in the form of federal grants and loans.
    4 45.      Defendants·' .acts and omissions as herein alleged have excluded and/or denied.Plaintiff
    s          the benefit of and/or participation in the programs and activities ottered by Defendants to
    6,         members of the public, in violation of Section 504 and its implel.l).enting regulations.
    7 46.      Defendants' duties under Section 504 are mandatory and long recognized. Defendants are
    8          assumed to have had knowledge oftheir duties at.all relevant times herelllt their failur~ to
    9          carry out thc;,se duties as alleged herein was willful and knowing and/or the product of
   IO          intentional and willful indifference,
   11    47.   Plaintiff prays fot judgment as set forth below Pursuant to 29 U.S,C. § 794(a).
                                         THIRD CAUSE OF ACTION
   12
                         California Disabled Penou Act - California Civil Code§ 54
   13
                                  (Statutory damages qnd qttomevs' lees only)
   14
   15    48.   Each of the foregoing paragraphs is incorporated herein by reference.
   16                                                                                        .
         49,   Toe Disabled Persons Act ('•COPA'') provides that "[i]ndividUlils with disabilities or
   17
   18          medical conditions have the same right as the general public to the full and free use of the

   19          streets~ highways, sidewalks, walkways, public buildings, medical facilities, including
   20          hospitals, clinics, and physicians' offices, public facilities, and other public places ... "
   21
               Cal. Civ. Code§ 54(a).
   22
   23    50.   Described herein, Defendants' acts and/or omissions violate the rights of Plaintiff under

   24          the CDPA. Defendants failed to ensure that facilities constructed or altered after
   25          December l 981 conformed to the standards contained in Califomia Code of Regulations,
   26
               Title 24, amongst other things as alleged herein.
   27
   28                                                                   10
                        Verified Complaint For Damages and Permanent Iajunctive Relief

                                               •   t   •   'I   I   ,    I•
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   1 51.        Defendants have also vioiated the COPA by violating the ADA. See Cal. Civ. Code, §
   2            54(c).
   3
   4    52.     Defendants' duties under the CDPA are mandatory and long recognized. Defendants ar.e

   5            assumed to ·have had knowledge of their duties at all relevant times 'here~ their failure to
                catty out these duties as alleged herein w~ willful and knowing and/m the product of
   6
                intentional and willful indifference.
   7

   8
          53.   Plaintiff prays fot statutory damages and attorney's fees under Cat. Civ. Code § 54,3(a),
   9
                pursuant to the remedies,·proced.ures, lilid tights set forth in Cal. Civ. Coc:le § 54;.3.(a).
   10
   11           Note: Plaintiff.is not seeking injunctive reliefunde,-, the CDPA, nor invoicing section 55 of

   12           the California Civil Code.
   13                                                   PRAYER,
   14 .
                .Plaintiff prays that this Court:.
   15
   16            l. Issue an ·injunction pursuant to the ADA and S·ection 504, orderihg Defendants to:

   17               a. Take the requisite steps in •bringing the Bus Stop into 9Qmpliance with applicable
   18
                         federal an4 state aeces.sibl11ty standardS ~O make it fully, and equally avail11blc to.
   19
                         individuals with mobility dis$ilities;
   20
   21               b. Modify their respective• policies to ensure compliance·with new construction and

   22                    alteration .standards and program accessibility obligations.
   23
                 Note: Plaintiff is not seeking intunctfye reliefu,ufer the CDPA., nor invoking se:ctlon 55 of
   24
                 ·the California Ctyil Code,
   25
   26            2. Award PWntiff general, compensatory, and statutory damages in an,amount Within the

   27            jurisdiction.of this Court;
   28                                                        u
                          V erlfled Complaint For Damages and Permanent lajunctive Relief
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    I          3. Award Plaintiff reasonable attorneys' fees, litigation expenses, and costs, as provided
   2
               by law; and
   3
            4. Award all other relief as the Court may deetn proper.
    4
    5 Dated: 12/1/2022,                        LAW OFFICES OF DAYTON MAGALLANES


   7
    6
                                                   CQ
                                                  By:           -
                                                                                      ·~
                                                                                       ~
    8                                                    Dayton Magallanes
                                                         Attom,=y for Plaintiff;.
   9
                                                         Gabriela Cabrera
   10
        I declare under penalty of perjury under the laws of California that the fon=going is true and
   11
        correct.
   12
   13   Dated: 12/1/2022
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                       V~:fied Complaint For Dam~cs and Permanent Iajunctive Relief
